956 F.2d 1163
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Connie F. WILLIAMS, Plaintiff-Appellee,v.James E. WILLIAMS, II, Defendant-Appellant,andJohn R. WILLIAMS;  Janice Williams, Defendants.
    No. 91-1192.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 17, 1992.Decided March 3, 1992.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Bluefield.   Elizabeth V. Hallanan, District Judge.  (CA-91-829)
      James E. Williams, II, appellant pro se.
      James Lynn Satterfield, Princeton, W. Va., for appellee.
      S.D.W.Va.
      AFFIRMED.
      Before K.K. HALL, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James E. Williams, II, appeals from the district court's order remanding a case removed from a West Virginia state court.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Williams v. Williams, No. CA-91-829 (S.D.W. Va.  Aug. 14, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    